                           UNITED STATES DISTRICT COURT

                                   DISTRICT OF ALASKA


Melissa Kulik                               v.               United States of America

HONORABLE JOHN W. SEDWICK                                    3:14-cv-00054-JWS

ORDER FROM CHAMBERS                        January 2, 2017
_____________________________________________________________________

       The parties' stipulation for dismissal with prejudice, each party bearing its own

costs and fees, is effective without an order from the court. Fed. R. Civ.

P. 41(a)(1)(A)(ii). The Clerk will please close this file.

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